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   1   BRYAN WILSON (CA SBN 138842)                        M. ELIZABETH DAY (SBN 177125)
       BWilson@mofo.com                                    eday@feinday.com
   2   YUE LI (CA SBN 287280)                              DAVID ALBERTI (SBN 220265)
       YLi@mofo.com                                        dalberti@feinday.com
   3   JACKIE CHENG (CA SBN 307372)                        SAL LIM (SBN 211836)
       jcheng@mofo.com                                     slim@feinday.com
   4   MORRISON & FOERSTER LLP                             MARC BELLOLI (SBN 244290)
       755 Page Mill Road                                  mbelloli@feinday.com
   5   Palo Alto, California 94304-1018                    FEINBERG DAY ALBERTI LIM &
       Telephone: 650.813.5600                             BELLOLI LLP
   6   Facsimile: 650.494.0792                             1600 El Camino Real, Suite 280
                                                           Menlo Park, CA 94025
   7   HECTOR G. GALLEGOS                                  Tel: 650.618.4360
       (CA SBN 175137)                                     Fax: 650.618.4368
   8   HGallegos@mofo.com
       MORRISON & FOERSTER LLP                             Attorneys for Plaintiff
   9   707 Wilshire Boulevard                              MONUMENT PEAK VENTURES,
       Los Angeles, California 90017-3543                  LLC
  10   Telephone: 213.892.5200
       Facsimile: 213.892.5454
  11
       Attorneys for Defendant
  12   DJI TECHNOLOGY INC.,
       SZ DJI TECHNOLOGY, LTD., and
  13   DJI EUROPE B.V.
  14                            UNITED STATES DISTRICT COURT
  15                           CENTRAL DISTRICT OF CALIFORNIA
  16
  17   MONUMENT PEAK VENTURES,                             Case No. 2:18-cv-02210-RGK-AGR
       LLC,
  18                                                       JOINT STIPULATION TO
                             Plaintiff,                    EXTEND DEADLINE TO
  19                                                       RESPOND TO FIRST AMENDED
              v.                                           COMPLAINT
  20
       SZ DJI TECHNOLOGY, LTD.,                            Judge: Hon. R. Gary Klausner
  21   DJI EUROPE B.V., and DJI
       TECHNOLOGY INC.,                                    Complaint Filed: March 16, 2018
  22                                                       Trial Date: None Set
                             Defendants.
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       JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
       CASE NO. 2:18-cv-02210-RGK-AGR
       pa-1849060
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   1          The parties hereby stipulate and agree that the time within which DJI
   2   Technology Inc., DJI Europe B.V. and SZ DJI Technology, Ltd. (collectively “the
   3   DJI Defendants”) may answer or otherwise respond to Plaintiff’s First Amended
   4   Complaint is hereby extended through and including September 12, 2018.
   5          WHEREAS, Plaintiff Monument Peak Ventures, LLC (“MPV”) filed its
   6   Original Complaint on March 16, 2018;
   7          WHEREAS, DJI Technology Inc. filed a Motion to Dismiss under Rule
   8   12(b)(6) on May 10, 2018;
   9          WHEREAS, MPV filed a First Amended Complaint on May 31, 2018;
  10          WHEREAS, DJI Technology Inc. is presently required to answer or
  11   otherwise respond to the Complaint on or before June 14, 2018;
  12          WHEREAS, counsel for Plaintiff and Defendants have conferred and agreed
  13   that the foreign DJI defendants (i.e., DJI Europe B.V. and SZ DJI Technology,
  14   Ltd.) shall waive service of summons1 and that the DJI Defendants shall answer or
  15   otherwise respond to the First Amended Complaint by September 12, 2018. Thus,
  16   this motion will not cause delay of this action but, rather, to align the DJI
  17   Defendants’ response deadlines to ensure greater efficiency.
  18          IT IS SO STIPULATED.
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         The DJI Defendants do not waive any potential defenses, including those
       available under Federal Rule of Civil Procedure 12.
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       JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
       CASE NO. 2:18-cv-02210-RGK-AGR
                                                                                       1
       pa-1849060
Case 2:18-cv-02210-RGK-AGR Document 21 Filed 06/14/18 Page 3 of 3 Page ID #:281



   1   Dated:      June 14, 2018                     MORRISON & FOERSTER LLP
   2
   3                                                 By: /s/ Bryan Wilson
                                                           Bryan Wilson
   4
                                                            Attorneys for Defendants
   5                                                        DJI TECHNOLOGY INC.,
                                                            SZ DJI TECHNOLOGY, LTD.,
   6                                                        DJI EUROPE B.V.
   7   Dated:      June 14, 2018                     FEINBERG DAY ALBERTI LIM &
   8                                                 BELLOLI LLP

   9
  10                                                 By: /s/ Marc Belloli
                                                           Marc Belloli
  11                                                        Attorneys for Plaintiff
  12                                                        MONUMENT PEAK VENTURES

  13
  14
                                              ATTESTATION
  15
               I, Bryan Wilson, am the ECF User whose ID and Password are being used to
  16
       file this document. I hereby attest that Marc Belloli concurs in this filing.
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  18
  19                                                        /s/ Bryan Wilson
                                                            Bryan Wilson
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       JOINT STIPULATION TO EXTEND DEADLINE TO RESPOND TO FIRST AMENDED COMPLAINT
       CASE NO. 2:18-cv-02210
        pa-1849060
